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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES                                :

       v.                                    : Crim. No. 21-CR-291-1 (ABJ)

THOMAS F. SIBICK                             :

             DEFENDANT THOMAS SIBICK’S NOTICE REGARDING THE
            FILING OF LETTERS IN SUPPORT OF HIS MOTION FOR BOND

       Defendant Thomas F. Sibick, in support of his Motion for Bond, filed October 16, 2021,

hereby provides Notice of the filing of the attached letters from CTF Officers (and one case

manager), friends and family of the defendant, as well as a letter from Mr. Sibick himself.

                                             Respectfully submitted,

                                                     /s/

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                                 CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing was sent by ECF, this 18th day of
October, 2021 to all counsel of record.

                                                     /s/

                                             Stephen F. Brennwald
